Case 1:20-cr-00468-RMB Document 296-17 Filed 06/20/23 Page 1 of 5




                       United States v. Hadden,
                        S2 20 Cr. 468 (RMB)




             EXHIBIT P
            (Defendant’s Poems and Emails (2014 to 2015))




  EXHIBITS TO THE GOVERNMENT’S SENTENCING SUBMISSION


                        [REDACTED COPY]




                        Filed: June 20, 2023
To:        jackie
From:                 Case 1:20-cr-00468-RMB Document 296-17 Filed 06/20/23 Page 2 of 5
           Robert Hadden[rah1@columbia.edu]
Sent:      Tue 11/25/2014 11:38:33 PM (UTC)
Subject:   Re: Thanksgiving wishes

 Dear Jackie,
 Thank you so much for keeping me in your thoughts. Despite all my troubles I too have much to be thankful for. My wonderful family and
 friends, and grateful patients like you whom have been so supportive. I know I have said it before but I can't stress enough how much your
 support & concern mean to me. You have truly touched my heart. In my darkest hours I just remember how many good people I have in my life &
 how truly blessed I am. I will not let the greed & betrayal of a few destroy me. Again thank you so much for your continued support & concern. I
 look forward to the day when I can thank you in person. Have a wonderful thanksgiving & a joyous holiday season.
 Fondly,
 Dr. H
 P.S. I would like to share with you a poem I wrote recently about why I went into Obstetrics & the joy it brought me. I will forward it to you in a
 separate email.

 Sent from my iPhone

 > On Nov 25, 2014, at 4:29 PM, jackie                                   wrote:
 >
 > Hi Dr Hadden
 > Every year at this time I like most take a moment to think about what I am thankful for. First thing that always comes to mind are my daughters
 which of course leads me to think of you and how you are doing.
 > How are you doing? I hope you are doing well and wishing you all good things in the year to come.
 > All the best
 > Jackie
 >
 > Sent from my iPhone




                                                                                                                     Exhibit P at 1
To:         Anne
From:                  Case 1:20-cr-00468-RMB Document 296-17 Filed 06/20/23 Page 3 of 5
            Robert Hadden[rah1@columbia.edu]
Sent:       Sat 1/10/2015 10:47:30 PM (UTC)
Subject:    Fwd: Happy Birthday Jersey!

 Sent from my iPhone

 Begin forwarded message:


           From:             @aol.com
           Date: January 10, 2015 at 5 30 53 PM EST
           To: "rah1@columbia.edu" <rah1@columbia.edu>
           Subject: Fwd: Happy Birthday Jersey!



           Sent from my iPhone

           Begin forwarded message:


                From:             @aol.com
                Date: January 9, 2015 at 7:58:48 PM EST
                To:
                Subject: Happy Birthday Jersey!


                Dear Anne,
                  I hope this email finds you well. Every year on Janie's birthday I think of you and your family including of course
                the "Birthday Girl", Jersey. I can't believe it's been 10 years. Even harder to believe it's been over 20 years since
                you changed our lives forever and for better when your recommended the breed, and Dick to us. Dear Brodie, I
                think of her so often and with great love. I've been reflecting a great deal about life lately. It's meaning, and what
                has truly impacted mine. Not to sound too corny or cliche I have realized it's all about the relationships and
                friendships I have been fortunate to have; and Brodie was the sweetest of companions. As Janie is now.
                  As you are aware our lives have been in turmoil for quite some time now. God's plan is hard to see sometimes
                but as they say God never gives you more than you can handle. I just wish he didn't trust me so much. I have
                been in therapy since the beginning and I am still struggling to understand. One of the treatments my therapist
                recommended was for me to keep a journal. I have the attention span of a gnat these days and knew I would be
                incapable of that. However I have always enjoyed poetry and found I could still read a poem or two without being
                distracted. I also found that I could write a poem about my thoughts and wrote my first this past July. I didn't pick
                up a pen again until October but I have found it to be a healing tool and have continued to write since then on a
                regular basis. Unfortunately I have a Poet's soul but not his pen.
                  The reason I bring this up is that I would like to share with you a poem I wrote about Janie. If Jersey is anything
                like her sister I think the poem will speak to you as well. I have also attached two others the poems I've written.
                One is about my life's calling; the other is about my situation. It was the first poem I wrote back in July. I hope that
                they speak to you as well. Please feel free to share them with Harlan and your family but I request that you do not
                share them publicly. For now they are my private thoughts and I have only shared them with family and a few
                close friends.
                  Again, I hope you are well and please give my best to Harlan, Charlotte, Will, Ben, Eve, and of course the
                birthday girl: Jersey! I wish you all a happy and healthy new year.

                Love,

                Bob

                She finds no fault in me
                If I sleep in or nap all day
                If I feed her late or make her wait for walkies
                Or am skimpy with her treats
                Clean her ears or brush out her mats
                Forget to lavish her with attention
                Come home tardy
                Admonish her when she is naughty
                She holds no grudge
                                                                                                                          Exhibit P at 2
                No cold shoulder
Her tail is always wagging
        Case
Her gentle   paw1:20-cr-00468-RMB
                 reaches out to me          Document       296-17 Filed 06/20/23 Page 4 of 5
Her snout rests softly in my lap
Or roots my hand to keep petting her when
she is in her glory
Her heart is as big as any of God's creatures
And yet there is no room in it for anger
or resentment
She rests besides me quietly when I am sad
and lonely
She rises swift and eagerly when I get up
Perhaps to take her on a journey
She turns over on her back, so vulnerable
and trusting
For me to rub her belly
And when I speak it's like from on the Mount
She listens so intently
She looks up to me with her soulful eyes
She gives of herself so completely
Wanting nothing more than a token of love
or sign of my approval
A look, a nod, a pat on her head or across
her back
A calming word; grateful for my kindness and
the least attention
She looks at me and I want to be the man she
sees before her
She finds no fault in me

Through God's Eyes
O Lord how can I deny your existence
I have seen the miracle of birth through Your eyes
Delivered a child with Your hands
Felt the joy and unconditional love of a newborn's parents with Your heart
I have witnessed the only thing greater than Yourself and felt Your humility
I have stood beside God and felt His glory

God's Plan

No dear friends, do not pity me
God's plan is always hard to see
The Devil's though is clear as rain:
Question faith and suffer pain

Betrayal shakes you to your very core
Easiest to label her insane or whore
But others join: suggestion plants the seed
Greed bleeds deep and leaves it's ugly stain
Convince yourself it's true and there'd be much to gain

The Devil's advocates whisper seductively in their ears:
You're not the first to make the claim
He surely deserves the blame
Despite every shadow filled with doubt
Truth be damned, you must cry out!

No thought of the accused, his family, or his name
Anxiety, depression, embarrassment, and shame
A quarter of a century of good fortune
Doing the Lord's work:
Sharing in a parent's greatest joy
And their deepest sorrow - far less often

God's plan is always hard to see
It's not the first time He's trusted me
At first, parents mourn a child's life not meant to be
Now wonderment and joy for the man who fills our lives
 with love and glee
                                                                                       Exhibit P at 3
Soon enough, truth be told
As facts unfold
Wrongs will be righted
        Case
As family,     1:20-cr-00468-RMB
           friends, and grateful patients Document
                                          remain united296-17 Filed 06/20/23 Page 5 of 5
Until then I thank God for all my blessings, true
Forget my burdens
And the greed and betrayal of a few




                                                                                  Exhibit P at 4
